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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:16CR69
                                               )
       Plaintiff,                              )
                                               )
                vs.                            )           TENTATIVE FINDINGS
                                               )
TIFFANY ZERLEY,                                )
                                               )
       Defendant.                              )

       The Court has received the Revised Presentence Investigation Report and

Addendum (“PSR”) and the Defendant’s objections1 (Filing No. 47). The government

adopted the PSR (Filing No. 46). See Amended Order on Sentencing Schedule, ¶ 6. The

Court advises the parties that these Tentative Findings are issued with the understanding

that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines

are advisory.

       Accordingly,

       IT IS ORDERED:

       1.       The Defendant’s Adoption and Objections to Revised Presentence Report

(Filing No. 47) will be heard at the sentencing hearing;

       2.       The Court intends to adopt the PSR in all other respects;

       3.       If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are


       1
         Defendant’s objections filed on ECF do not provide the Court with a written
statement of position in respect to each of the unresolved objections to the presentence
report, including the specific nature of each objection as required by ¶6(c) of the Amended
Order on Sentencing Schedule (Filing No. 43).
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required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 29th day of August, 2016.


                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




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